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 7
                                 UNITED STATES DISTRICT COURT
 8
                                WESTERN DISTRICT OF WASHINGTON
                                          AT SEATTLE
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10          CENTER FOR BIOLOGICAL                             CASE NO. C19-487 MJP
            DIVERSITY, et al.,
11                                                            DISMISSAL ORDER
                                    Plaintiffs,
12
                      v.
13
            NATIONAL MARINE FISHERIES
14          SERVICE, et al.,

15                                  Defendants.

16

17          This matter is before the Court on Plaintiffs’ unopposed request for voluntary dismissal.

18   (Dkt. No. 50.) Taking note that the Parties have also filed a stipulation resolving Plaintiffs’

19   claims for attorney fees and costs, (Dkt. No. 51), the Court GRANTS the request and ORDERS

20   that this action and all claims asserted herein are DISMISSED with prejudice under FRCP

21   41(a)(2). Any trial date and pretrial dates previously set are hereby VACATED.

22          The clerk is ordered to provide copies of this order to all counsel.

23          ///

24          ///


     DISMISSAL ORDER - 1
             Case 2:19-cv-00487-MJP Document 53 Filed 10/06/21 Page 2 of 2




 1         Dated October 6, 2021.

 2                                            A
                                              Marsha J. Pechman
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                                              United States Senior District Judge
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     DISMISSAL ORDER - 2
